           Case 1:11-cr-00354-JLT Document 650 Filed 06/14/16 Page 1 of 2



 1                             UNITED STATES DISTRICT COURT
 2                                EASTERN DISTRICT OF CALIFORNIA
 3

 4    UNITED STATES OF AMERICA,                         Case No. 1:11-CR-00354-(26)-LJO
 5                             Plaintiff,
                                                        ORDER VACATING PRIOR ORDER TO
 6           v.                                         HOLD IN ABEYANCE DEFENDANT’S
                                                        MOTION TO REDUCE SENTENCE AND
 7    FELIPE GUTIERREZ,                                 REFERRING CASE TO FEDERAL
                                                        DEFENDER’S OFFICE
 8                             Defendant.
 9                                                      (ECF Nos. 583, 611)
10

11          On May 5, 2015, Defendant Felipe Gutierrez (“Mr. Gutierrez”) filed a pro se motion to
12   reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 583). On June 22, 2015, the parties
13   stipulated to a briefing schedule, later extended by a stipulated motion. See ECF Nos. 599, 605, 606.
14          The Ninth Circuit granted en banc review of United States v. Davis, 795 F.3d 1188 (9th Cir.
15   2015) United States v. Davis, 776 F.3d 1088, 1090 (9th Cir.) reh’g en banc granted, opinion
16   vacated, 795 F.3d 1188 (9th Cir. 2015), the resolution of which impacts the instant motion. Pursuant
17   to the parties’ stipulated request (ECF No. 608), on August 11, 2015, this Court rendered an Order
18   holding in abeyance petitioner’s § 3582 motion pending the resolution of Davis. See ECF No. 611.

19          Yesterday, the Ninth Circuit rendered its decision in United States v. Davis, --- F.3d ---, Case

20   No. 12-30133 (June 13, 2016), holding that a defendant sentenced under an 11(c)(1)(C) agreement is

21   eligible for relief under § 3582(c)(2) “because the district court’s ‘decision to accept the plea and

22   impose the recommended sentence’ was ‘based on the Guidelines.’” Id. at 28 (quoting Freeman v.

23   United States, 564 U.S. 522, 534 (2011) (plurality opinion). The Ninth Circuit emphasized that

24   “Davis’s Rule 11(c)(1)(C) plea agreement was clearly rooted in the Guidelines.” Id. By explicitly

25   overruling United States v. Austin, 676 F.3d 924 (9th Cir.2012), upon which the Government’s

26   opposition to the instant motion relies (see ECF No. 635), the circuit court fashions a new and

27   different rule applicable to this case. See Davis, --- F.3d ---, Case No. 12-30133 at 17 (“we overrule

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            Case 1:11-cr-00354-JLT Document 650 Filed 06/14/16 Page 2 of 2



 1   our holding in Austin,” and “adopt the analysis of the D.C. Circuit”) (citing United States v. Epps,

 2   707 F.3d 337, 350 (D.C. Cir. 2013) (finding no common denominator in Freeman)).

 3            Under Davis, Mr. Gutierrez apparently no longer faces a bar to his eligibility for relief under

 4   § 3582(c)(2) based on the nature and content of his plea agreement, which was, like the plea

 5   agreement in Davis, offered to the Court under Federal Rule of Criminal Procedure 11(c)(1)(C) and

 6   “based on the Guidelines.” Davis, --- F.3d ---, Case No. 12-30133 at 28 (quoting Freeman, 564 U.S.

 7   at 534). This is not dispositive, however. The parties have yet to address how the Davis holding,

 8   among other factors, specifically affects Gutierrez’s request for reduction. Given the changed

 9   circumstances, the Court finds appropriate a fresh referral and scheduling order in order to give the

10   parties an opportunity to respond.

11                                             CONCLUSION AND ORDER

12            Accordingly, IT IS HEREBY ORDERED that the Court’s Order (ECF No. 611) holding

13   the case in abeyance is VACATED. Pursuant to Eastern District of California General Order 546,

14   the FDO is hereby appointed to represent Defendant in this matter. The FDO SHALL have 90 days

15   from the Ninth Circuit’s mandate in Davis1 to file a supplement to Defendant’s pro se § 3582

16   Motion (ECF No. 583), or to notify the Court that it does not intend to supplement to the motion.

17   Thereafter, the government SHALL have 30 days from the date of the FDO’s filing to file a

18   supplemental response to Defendant’s § 3582 Motion.

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20   IT IS SO ORDERED.

21       Dated:       June 14, 2016                                    /s/ Lawrence J. O’Neill _____
                                                             UNITED STATES CHIEF DISTRICT JUDGE
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      Entry of judgment on Davis was made June 13, 2016, a mandate will issue on or before June 20, 2016 (see Fed. R.
27
     App. Proc. 41), and thereafter the parties have 90 days in which to petition for a writ of certiorari. See U.S. Sup. Ct. R.
28   13, 28 U.S.C. If Davis is timely appealed, this Court will again hold the instant motion in abeyance.

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